                                                                         Case 21-14486-abl      Doc 54    Entered 10/05/21 14:59:24       Page 1 of 5




                                                             1   ARIEL E. STERN, ESQ.
                                                                 Nevada Bar No. 8276
                                                             2   AKERMAN LLP
                                                                 1635 Village Center Circle, Suite 200
                                                             3   Las Vegas, Nevada 89134
                                                                 Telephone: (702) 634-5000
                                                             4   Facsimile: (702) 380-8572
                                                                 Email: ariel.stern@akerman.com
                                                             5
                                                                 MICHAEL D. NAPOLI, ESQ.
                                                             6   PRO HAC VICE
                                                                 AKERMAN LLP
                                                             7   2001 Ross Avenue, Suite 3600
                                                                 Dallas, Texas 75201
                                                             8   Telephone: (214) 720-4360
                                                                 Facsimile: (214) 720-8116
                                                             9
                                                                 Attorneys for Tecumseh – Infinity Medical
                                                            10   Receivables Fund, L.P.
                                                            11                                UNITED STATES BANKRUPTCY COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 20-

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12                                         DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                                  In re:
                                                                                                                      Case No.:     21-14486-abl
                                                            14                 INFINITY CAPITAL                       Chapter       7
                                                                               MANAGEMENT, INC.
                                                            15
                                                                                    Debtor.
                                                            16

                                                            17     DECLARATION IN SUPPORT OF MOTION OF PARTY IN INTEREST TECUMSEH –
                                                                  INFINITY MEDICAL RECEIVABLES FUND, LP TO (1)ABANDON PROPERTY AND (2)
                                                            18                         LIFT THE AUTOMATIC STAY
                                                            19         I, Chad Meyer, pursuant to 28 U.S.C. § 1746, declare as follows:
                                                            20                1.   My name is Chad Meyer. I am over the age of twenty one years, of sound mind, and
                                                            21   fully competent to testify in this cause. I have personal knowledge of the facts stated herein, all of
                                                            22   which are true and correct.
                                                            23                2.   I am a principal of Tecumseh – Infinity Medical Receivable Fund, LP, (“Tecumseh”),
                                                            24   a party interest, in the above referenced bankruptcy matter. In my role as a principal of Tecumseh, I
                                                            25   am responsible for Tecumseh’s investments in medical receivables including its sub-advisory
                                                            26   agreement with Infinity Capital Management Inc. (the "Debtor").
                                                            27

                                                            28
                                                                                                                  1
                                                                 60259966;1
                                                                         Case 21-14486-abl       Doc 54   Entered 10/05/21 14:59:24        Page 2 of 5




                                                             1                3.   Tecumseh purchased certain medical receivables pursuant to a sub-advisory agreement

                                                             2   (the “Sub-Advisor Agreement”) entered with the Debtor on June 18, 2020. A true and correct copy is

                                                             3   attached hereto as Exhibit C.

                                                             4                4.   As is standard practice within the industry, Debtor identified and negotiated the

                                                             5   purchase of likely receivables for Tecumseh’s account. Thereafter, Tecumseh reviewed the receivables

                                                             6   recommended by Debtor and approved them for purchase. Once approved, Tecumseh advanced funds

                                                             7   to purchase the receivables taking ownership of the receivables. In most cases, Tecumseh paid the

                                                             8   medical provider directly but, in other cases, it purchased the receivable from the Debtor. I will
                                                             9   hereafter refer to the receivables purchased and owned by Tecumseh as the “Tecumseh Receivables.”

                                                            10                5.   When it purchased the Tecumseh Receivables, Tecumseh received a lien from the

                                                            11   plaintiff against any recovery the plaintiff may obtain. The Tecumseh Receivables were also
              1635 VILLAGE CENTER CIRCLE, SUITE 20-

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12   documented by an assignment from the medical provider to Tecumseh.
                      LAS VEGAS, NEVADA 89134




                                                            13                6.   Thereafter, Debtor tracked the personal injury claims underlying the Tecumseh
AKERMAN LLP




                                                            14   Receivables, managed communications with plaintiff's lawyers, coordinated payment, and negotiated

                                                            15   any reductions in the amount to be paid.

                                                            16                7.   Tecumseh owns the Tecumseh Receivables outright. Debtor merely services the

                                                            17   Tecumseh Receivables on Tecumseh’s behalf and owns no interest in them.

                                                            18                8.   As required by the Sub-Advisor Agreement, the Debtor maintained a log of the

                                                            19   Tecumseh Receivables along with any collections on them. Debtor made these records available to

                                                            20   Tecumseh on a regular basis. In addition, Tecumseh maintained its own records related to the

                                                            21   Tecumseh Receivables. Following the filing of this case, a team under my supervision compared

                                                            22   Tecumseh’s records to the logs provided by the Debtor. We were able to confirm that the Debtor

                                                            23   accurately identified the open Tecumseh Receivables.

                                                            24                9.   Tecumseh’s records (as confirmed by the Debtor’s records) indicate that Tecumseh

                                                            25   owns a total of 8,670 receivables with a total face amount of approximately $28 million which are

                                                            26   identified in Exhibits A and B to my declaration. I have attached, as Exhibit A, a list of certain of the

                                                            27   Tecumseh Receivables consisting of 8,185 receivables with a total face value of $26,723,966.92. The

                                                            28   column labelled BillID shows a unique number assigned by the Debtor to each receivable. The column
                                                                                                                  2
                                                                 60259966;1
                                                                         Case 21-14486-abl        Doc 54     Entered 10/05/21 14:59:24       Page 3 of 5




                                                             1   labelled BillGFB shows the face amount of each receivable. Tecumseh owns outright all of the

                                                             2   receivables listed on Exhibit A.

                                                             3                10.   I have attached, as Exhibit B, a list of additional Tecumseh Receivables consisting of

                                                             4   485 receivables with a total face amount $1,321,907.04. The column labelled BillID shows a unique

                                                             5   number assigned by the Debtor to each receivable. The column labelled BillGFB shows the face

                                                             6   amount of each receivable. Tecumseh owns outright all of the receivables listed on Exhibit B. The

                                                             7   receivables on Exhibit B are related to certain receivables that Debtor purchased on its own account

                                                             8   in that the Tecumseh Receivable and the other receivable (collectively, the “Overlap Receivables”)
                                                             9   arise from the same plaintiff and the same injury or claim. Although Tecumseh owns the Tecumseh

                                                            10   Receivables outright, the Debtor serviced its receivables and the Tecumseh Receivables jointly.

                                                            11                11.   As discussed above, Tecumseh paid for most of the Tecumseh Receivables by paying
              1635 VILLAGE CENTER CIRCLE, SUITE 20-

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12   the assigning medical provider directly. It purchased the remaining Tecumseh Receivables from the
                      LAS VEGAS, NEVADA 89134




                                                            13   Debtor. Attached as Exhibits D-1 to D-11 are purchase orders reflecting the purchase of Tecumseh
AKERMAN LLP




                                                            14   Receivables from the Debtor.

                                                            15                12.   Since the filling of the instant matter, Debtor has ceased all business operations. As

                                                            16   such, there has been no oversight, management, or administration of the Tecumseh Receivables. This

                                                            17   means that there is no oversight of the personal injury claims underlying the Tecumseh Receivables

                                                            18   or communication with the plaintiff's lawyers associated to these Receivables. Nor have there been

                                                            19   any attempts to collect on the Tecumseh Receivables.

                                                            20                13.   I am aware that Debtor’s principals, Anne Pentalas and Oliver Hemmers are possess

                                                            21   checks, received after Debtor filed for bankruptcy, relating to Tecumseh Receivables. Debtor also

                                                            22   remain in personal possession of business records which are imperative for the continued

                                                            23   administration of the Tecumseh Receivables.

                                                            24                14.   For these reasons, each day the limitations and restrictions imposed by the bankruptcy

                                                            25   system are in place Tecumseh Receivables are at risk of serious harm.

                                                            26                15.   Thus, I respectfully urge the Court to authorize the abandonment, release, transfer all

                                                            27   Tecumseh Receivables, and allow for procurement of all Tecumseh Receivables by lifting the

                                                            28   Automatic Stay.
                                                                                                                     3
                                                                 60259966;1
                                                                         Case 21-14486-abl          Doc 54     Entered 10/05/21 14:59:24         Page 4 of 5




                                                             1                I declare under penalty of perjury that the foregoing is true and correct.

                                                             2

                                                             3

                                                             4                                                              Chad Meyer
                                                             5

                                                             6

                                                             7

                                                             8
                                                             9

                                                            10

                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 20-

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                            14

                                                            15

                                                            16

                                                            17

                                                            18

                                                            19

                                                            20

                                                            21

                                                            22

                                                            23

                                                            24

                                                            25

                                                            26

                                                            27

                                                            28
                                                                                                                        4
                                                                 60259966;1
                                                                         Case 21-14486-abl           Doc 54     Entered 10/05/21 14:59:24       Page 5 of 5




                                                             1                                             CERTIFICATE OF SERVICE

                                                             2                1.       On October 5. 2021, I served the following document: DECLARATION IN

                                                             3   SUPPORT OF MOTION OF CHAPTER 7 TRUSTEE AND PARTY IN INTEREST

                                                             4   TECUMSEH – INFINITY MEDICAL RECEIVABLES FUND, LP AS TO (1)ABANDON

                                                             5   PROPERTY AND (2) LIFT THE AUTOMATIC STAY by the following means to the persons as

                                                             6   listed below: (Check all that apply)

                                                             7                        a.     ECF System
                                                             8
                                                                                   Matthew C. Zirzow, Esq.                          Clarisse L. Crisostomo, Esq.
                                                             9                     LARSON & ZIRZOW, LLC                             ATKINSON LAW ASSOCIATES, LTD.
                                                                                   850 East Bonneville Avenue                       376 East Warm Springs Road, Suite
                                                            10                     Las Vegas, NV 89101                        130
                                                                                                                                    Las Vegas, NV 89119
                                                            11                     Attorneys for Debtor
              1635 VILLAGE CENTER CIRCLE, SUITE 20-

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12                                                                      Trustee
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                                                      c.     Personal Service
                                                            14
                                                                                       I personally delivered the document(s) to the persons at these addresses:
                                                            15
                                                                                     For a party represented by an attorney, delivery was made by handing the document(s)
                                                            16                to the attorney or by leaving the documents(s) at the attorney’s office with a clerk or other
                                                                              person in charge, or if no one is in charge by leaving the documents(s) in a conspicuous place
                                                            17                in the office.
                                                            18                       For a party, delivery was made by handing the document(s) to the party or by leaving
                                                                              the document(s)at the person’s dwelling house or usual place of abode with someone of
                                                            19                suitable age and discretion residing there.
                                                            20                        d.     By direct mail (as opposed to through the ECF System)
                                                            21                        e.     By fax transmission
                                                            22                        f.     By messenger
                                                            23                I declare under penalty of perjury that the foregoing is true and correct.
                                                            24                Signed on: October 5, 2021.
                                                            25                         Allen G. Stephens                                 /s/ Allen G. Stephens
                                                                                     (Name of Declarant)                               (Signature of Declarant)
                                                            26

                                                            27

                                                            28
                                                                                                                        5
                                                                 60259966;1
